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                         Exhibit C: Parties and Primary Elections in Idaho

                                          Summary Points

1. Political parties in the United States consist of three interrelated components: Party in the
Electorate, Party in Government, and Party Organization.

2. There is oftentimes a tension between Party in Government and the Party Organization. Parties
in Government pursue re-election of individual candidates; Party Organizations pursue the overall
party label and shared ideology.

3. The Party in the Electorate is usually less partisan than the Party in Government; Party in
Government is usually less partisan than the Party Organization.

4. Many explanations exist for electoral outcomes. Blaming any electoral loss solely on a single
factor, like crossover voting or primary type, is an extraordinarily difficult case to make.

5. Types of primary elections can be laid out on a continuum of “openness,” varying from the
blanket primary to the closed primary.

6. Open primaries are more "small-d" democratic than closed primaries, and encourage broader
participation.

7. Open primaries produce less ideologically extreme candidates than closed primaries, and
produce candidates that are more representative of the Party in the Electorate as well as the overall
electorate.
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Introduction

Political parties and elections can be conceived of as linkage institutions that work between citizens
and the democratically elected institutions of government. Linkage institutions are the route by
which the American people are, directly or indirectly, educated about, represented by, and
governed in our political system. Each type of linkage institution, including interest groups, parties,
and the mass media, plays a different role. 1

Elections are the fundamental and direct democratic linkage between the mass public and the
institutions of government; they are the base mechanism by which social change occurs,
officeholders are held accountable, and the political and social will of citizens expressed. While we
often hold the public in contempt for being ill-informed about politics and passive in its
participation, elections are the one route by which citizens can directly affect and change their
governments by voting.

Political parties, in contrast, are the only linkage institutions that compete directly for
representative power through the electoral linkage. Candidates from the parties fight in elections
and then, once holding power, can affect change in public policy themselves. These policy changes
can include altering the very rules that govern the electoral contests by which officials will be
chosen in the next election.

Political Parties

Most scholars would agree that a political party is “a group organized to nominate candidates, to try
to win political power through elections, and to promote ideas about public policy.” (Hershey 2010,
p. 6) Beyond that, while there are many more detailed definitions of what a party is, does, can and
should achieve that are available to us, most scholars view these parties as three interrelated parts:
the Party in the Electorate, the Party in Government, and the Party Organization. These three
components, while separate in function, are constantly interacting inside the political arena
throughout the American polity, including, of course, Idaho.

Although all three elements ultimately work towards a common goal as defined above, it is
important to note that if we think of these three entities as unitary actors, they can each be said to
have different motivations, purposes, and constituencies (as demonstrated visually in Figure C-1
below):

    •    The Party in Government is made up of candidates and elected officials. Their primary
         motivation is to win office, and then to win again, so that they can use their power to make
         and to control the public policy output of government.
    •    The Party in Electorate is constituted of citizens, who to a varying degree identify with a
         political party. Their primary motivation, if they are informed and efficacious with the

1 Many of my points here are taken from years of lecture and course notes on political parties and elections, and texts,

namely Party Politics in America, 14th Edition, by Marjorie Hershey, and Parties, Politics, and Public Policy in America, 11th
Edition, by Marc Hetherington and Bruce Larson, and Change and Continuity in the 2008 Elections by Paul R. Abramson,
John H. Aldrich, and David W. Rohde.
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       democratic process, is to vote and have their voice heard, and in turn, influence who holds
       the offices by the Party in Government. Their secondary motivation—depending on the
       degree of their partisanship—is to influence the power of a certain party or enhance its
       standing.
   •   The Party Organization—made up of the party leaders and activists—has as its motivation
       the promotion of the party label, all the party’s candidates (not just an individual candidate
       or two), and the stands of the party on major issues. Its goal is gaining power for the party,
       but from the point of view of leadership, not officeholders, who sometimes need to be more
       pragmatic to win elections.

Figure C-1: The Tripartite Theory of Political Parties


                                      Party in the Electorate
                                   (constituted of citizens, who
                                   to a varying degree, identify
                                       with a political party)




                                                                       Party in Government
           Party Organization
                                                                   (party candidates for public
       (party committees, party
                                                                    office and state, local, and
         leaders, and activists)
                                                                     national public officials)


Source: Adapted from Hershey, Marjorie Randon. 2010. Party Politics in America 14th Edition, New
York: Longman, chapters 1 and 2.

There is obviously considerable crossover and interaction between these three entities. Members
of the Party in Electorate can end up as members of the other two parts of party. Members of the
Party in Government are typically involved in the Party Organization.

   •   Party in Government responds to policy views and helps strengthen the Party Organization
       through seeking and holding power, while Party Organization recruits candidates and
       provides campaign resources to Party in Government.
   •   Party in the Electorate elects Party in Government, while Party in Government responds to
       the policy views of Party in the Electorate.
   •   Party in the Electorate provides workers (usually strong partisans) to the Party
       Organization, while the Party Organization mobilizes Party in the Electorate.
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Hershey (2010) notes the fundamental tensions that exist between all of these separate
components (Hershey 2010, p. 9). For example, in the relationship between Party in Government
and Party Organization, there is often contention between the two sides for leadership of the party
as a whole as to which of the two should determine the direction of the party. The primary goal of
the Party in Government is to continue winning elections and therefore hold power, thus providing
its elected officials an incentive to take a more moderate approach to policy that will be amenable
to a general election constituency. The Party Organization, in contrast, driven not by the same
electoral and pragmatic goals, but by the ideological goals that motivate the activists who comprise
the organization, is likely to be significantly more partisan than the Party in Government.

Similarly, since the Party in the Electorate consists of mostly individuals who lack the commitment
and attention to politics that defines the activists in the Party Organization, the Party in the
Electorate tends to be much less ideologically extreme. Thus, although each of these three elements
is essential to the political party, the different roles and motivations generally result in the Party in
the Electorate being the least extreme partisan element and the Party Organization the most
extreme partisan element. Party in Government is then left to negotiate a balance between the
other two elements; elected officials, if they wish to keep their jobs, are often pulled back to the
views of their constituencies instead of toward the views of the Party Organization, especially if the
views of the Party Organization are too ideologically extreme for their particular constituency.

Elections in Idaho

While the partisan identification of the state of Idaho leans towards the Republican Party, as we
saw in Exhibit B (pp. 2-3) there are many citizens in Idaho who identify with another party or do
not identify with one at all. Further, constituencies across Idaho vary in many ways—not just
geographically, but with regard to elections, they vary in their demographic, ideological and
partisan makeup, which in turn affects variation in electoral outcomes, as we saw in Exhibit B (pp.
7-9).

In both primary and general elections, due to this variation, not every candidate is a good match for
his or her particular constituency, not every election is competitive, and not everyone has the “right
stuff” or is entitled to win. While it is obvious to state this, it is important to remember that there
are many reasons candidates win and lose elections; most importantly, politicians need to have the
political acumen and appeal to the voters of the constituency in which they are running in order to
win. Still, there are also many other factors that can determine outcomes other than candidate
quality: the emergence of particular leaders, issues or nationalized divisions can affect the mood of
the electorate (e.g., Abramowitz and Saunders 1998, Stimson 1999), campaign finance and
dexterous use of other resources (Mayhew 1974), the appeal of the candidate to their constituency,
incumbency, previous vote margins, and constituency service or the materialization of influential
groups or social bases inside a constituency (e.g., Jacobson 2008); the list is long and indefinite, as
each election in each constituency is different in each electoral cycle.

Though pundits will surely never tire of the sport, trying to pin the explanation of an election
contest on any single cause is a fool’s errand. There is a classic political aphorism that half of the
stuff winning political candidates do does not actually help at all; the problem is, they do not know
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which half. In short, with so many other alternative explanations for electoral outcomes, blaming
any electoral loss solely on any single factor, like crossover voting or primary type, is a very difficult
case to make.

Primary Elections

In order to compete for the opportunity to be elected by the people in the Idaho general election as
a Democrat or Republican, candidates must compete in and win a prior primary election. These
direct primary elections choose candidates for the general election and are expressions of
democratic will; and just as general elections, they are conducted by the state.

As of today, any registered voter in the state of Idaho can vote in these elections, they only need
select a certain party’s primary ballot at their polling place. This type of election is called the open
primary.

Nearly all laws pertaining to elections, voter registration, voting procedures, etc., are creatures of
state law because the US Constitution, in Article I, Section IV, reserves those functions to the states.
So, in the case of direct primary elections, in essence, the United States has 50 different primary
systems, just as we have 50 different sets of electoral laws about mode of ballot collection, voter
registration, voting machinery, etc.

Prior to dramatic reforms of political parties near the turn of the 20th century, candidates were
usually chosen by a small subset of the Party Organization, typically in exclusive caucuses or
conventions, but sometimes also smaller groups of party leaders, evoking visions of smoke-filled
rooms, deals, and patronage. This un-democratic and exclusionary process of candidate selection
was the hallmark of what was known as “machine politics.”

In response to the growing corruption of political “machines,” the Progressive Era came to pass, and
along with such ideas as the ending of patronage for most city and state jobs (government jobs
were used to “hold sway” over the voters), the use of the Australian (secret) ballot, and voter
registration, the direct primary was brought into being as a way to weaken party organizations and
democratize the candidate-selection process.

The direct primary was intended to increase the role of the public in picking the candidates, with
the hopes that the candidates selected in primaries would be more representative of the public’s
interest, as compared to the narrower (and at the time, often corrupt) interests of the party in the
institutions of government. Fundamental in that calculus was taking away the power of the Party
Organization to choose its candidates, and therefore hold its officeholders accountable to the party
agenda with the threat of not being put up for election next time around if they did not adhere to
the wishes of the party bosses.

Primaries gradually moved through the United States and are now in most states. There are many
types of direct primary elections in the United States, and each of the 50 states has its own little
idiosyncrasies, but they can be reduced down to five general types—described here according to
their degree of “openness”:
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   •   A blanket primary, the system that California had that was done away with in Jones, allows
       registered voters to vote among candidates without regard to party; i.e., a voter can vote for
       both Republicans and Democrats in the same primary. This is also sometimes called a
       “jungle primary.”
   •   An open primary allows registered voters to privately choose the single party’s primary
       election ticket in which they vote (i.e., a voter would choose either the Republican,
       Democratic, or a third party’s ticket and then proceed to the voting booth, voting on only
       that “slate” of candidates).
   •   Contrast this with a semi-open primary, which allows voters a similar choice, but a public
       declaration must be made in front of the election judges requesting a party-specific ballot.
   •   In semi-closed primaries, registered party members can vote only in their own party's
       primary, however, new and unaffiliated voters are allowed to participate as well.
       Depending on the state, Independents can either make their choice of party primary
       privately, inside the voting booth, or publicly, by registering with any party on Election Day.
   •   The closed primary, on the other hand, requires party declaration in advance of the election
       and only those registered with a particular party can participate in that party’s primary.

These types can be laid on a continuum that reflects their degree of “openness” as is illustrated in
Figure C-2 below. Note that I have included “smoke-filled room” as an attribution to the “Tammany
Hall”-style party machine era of political parties—there are, of course, none of these systems in
existence today, but it does fit on the continuum as it was a fair characterization of Party
Organization in the United States in the early 20th Century.
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Figure C-2: The Primary Continuum of “Openness” and Its Consequences for Elections


                                                                                                  Smoke-
 Jungle/Blanket                         Semi-Open            Semi-Closed
                   Open Primary                                                  Closed Primary    Filled
    Primary                              Primary               Primary
                                                                                                   Room



                                democratic
                                influence in
                             candidate selection
                                                  increased party autonomy in
                                 (inclusive)
                                                 candidate selection (exclusive)




                              higher electoral
                            participation/lower
                             "costs" of primary           lower electoral
                              voting for voters        participation/higher
                                                     "costs" of primary voting
                                                             for voters




                              less ideologically
                                   extreme
                                 candidates           more ideologically
                                                     extreme candidates




                           potential for increased
                           representativeness of
                           preferences of general      potential for decreased
                           electorate by primary representativeness of preferences of
                                 electorate         general electorate by primary
                                                              electorate




                              increased chance
                                 of "raiding"        decreased chance of
                                                          "raiding"



Source: A visual summary of the literature constructed by the author, reviewed below.
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A coinciding review summary of the literature that goes with Figure C-2 above follows:

    •   In general, the more open the primary, the more “small-d” democratic influence there will
        be in candidate choice. Conversely, the more closed the primary, the more that candidate
        selection will be in the hands of a smaller and more ideological group of partisans.
    •   From a democratic theory perspective, there are several advantages to open primaries.
        Most notably, many studies present empirical evidence that open primaries increase citizen
        engagement as well as voter turnout in primary and general elections (Kanthak and Morton
        2001, 2003; Boyd 1989; Kenney 1986; Besley and Case 2003; Gerber and Morton 1998;
        Jewell 1984; Calcagno and Westley 2008).
    •   The type of primary can significantly affect the resulting ideology of general election
        candidates, and can make them appear more extreme or more moderate relative to the
        ideology of the median voter in a general election (Gerber and Morton 1998; Jewell 1984;
        Westley et al. 2004; Brady et al. 2007).
    •   It is also the case that, ceteris paribus, candidates who seek office under a closed primary
        system, as compared to an open primary, will be more likely to have to appeal to a more
        ideologically extreme portion of the electorate in order to win their primary, and then they
        will have further ideologically to move back to get to the “middle” of their constituency in
        order to win the general election. This decreases the likelihood that the primary candidates
        will be ideologically representative of the overall electoral constituency to be represented
        after enduring a more polarizing primary season.
    •   The idea of partisan raiding, a concerted effort by affiliates of one political party to
        coordinate and vote in another party's primary in an effort to nominate a weaker candidate,
        is always possible, even in a closed primary system (Ranney 1968; Guttman 1984).
        However, the likelihood of such a coordinated effort is in most cases beyond the interests
        and level of engagement necessary in a large enough portion of the electorate to affect
        electoral outcomes or reduce a margin of victory in any significant manner (Cox 1997).

On the last point of this list, as Southwell (1991) demonstrates (discussed in more depth in Exhibit
E), a very large majority of voters in primary elections vote out of sincere motivations. The idea
that these strategic voters can form a citizen cabal that affects outcomes as exhorted by some
persuasive influence, while ultimately possible, is highly unlikely. Further, there has certainly been
no determinative evidence that such an occurrence has taken place in Idaho from the evidence that
we have been presented.

The Role of Parties, and Their “Parts,” in Democracy

The fundamental question with regard to which type of primary elections is desired gets to the role
of party in democracy; as Margie Hershey asks in her parties textbook, “Is democracy best served
by competition between strong and disciplined parties or by a system in which parties have
relatively little power?” (Hershey 2010, p. 165)

Those who advocate open primaries are closer to the view that rigid party loyalties can harm a
democracy, so in their view, candidate selection should be open to all voters, even those who do not
have a party affiliation or registration. In this view, all citizens have a right to vote in all levels of
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elections, but nonetheless with some level of partisan commitment, as voters must stick with a
single party within a given primary, unlike in a jungle/blanket primary, which places no demands of
partisan coherence.

On the other hand, advocacy of a closed primary system reflects the belief that citizens benefit from
having clear ideological and partisan choices in elections, which can best be provided by unified,
ideologically coherent parties. In this view, a party’s candidates then should be selected by the
party’s loyal followers, which if it cannot be done in a closed party caucus or an even more exclusive
manner as it once was, should be done by a closed primary. This is because, in a closed primary,
voters must register their affiliation with the party prior to the election, which in turn lessens the
potential for moderating as well as hostile outside influence. This in turn reduces the size of the
party “selectorate” (the group who actually chooses the candidates) and makes it more partisan
than it would be under an open primary system.

Party Organizations tend to prefer the most closed primary they can achieve under the law, as it
increases the potential for party discipline (officeholder support of the policies of their party
leadership) and increases the power of the Party Organization, often at the expense of the power of
those in Party in Government. Party Organizations thus gain more power as the size of the party
“selectorate” shrinks, because there are fewer diverse inputs that go into the candidate selection
process. This is part of the idea of “party responsibility.”

In the politics of the era of strong political machine-style parties, Party Organization kept and
maintained the power that it had through the disciplining of candidates; this was done by the threat
of the ability of Party Organization to remove candidates from the ballot if they deviated from the
wishes of the Party Organization leaders, i.e., “bosses.” This meant that, with this power, Party
Organization played a very large role in setting the policy agenda, framing of the party’s message,
and further reflected increased control of the Party in Government by the Party Organization.

To simply illustrate the ideas of the party responsibility model as it was articulated in 1950
(American Political Science Association Committee on Political Parties 1950) here is a brief
summary:

   •   Each party draws up clear issue agendas/platforms, pledging to carry them out if they win.
   •   The Party Organization then would choose candidates loyal to that party program who were
       willing to put that platform into public policy if elected.
   •   Each party competes and runs campaigns that clearly delineate the differences between
       their platforms, so voters can see the differences.
   •   If elected, the Party Organization would hold its officeholders accountable if they did not
       uphold the party’s agenda; the Party Organization accomplished this by not putting the
       officeholder up for election the next time.
   •   Voters would then assess whether parties acted in their interests and will vote accordingly
       in the next election.

The idea of party responsibility, however, rarely corresponds with American political reality, in
which we see that that:
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    •   A large portion of the public is not ideologically sophisticated enough to place themselves
        ideologically—around half of individuals in the American National Elections Studies either
        cannot classify themselves on a liberal-conservative scale or identify themselves as
        “moderates,” which calls into question their ability or desire to understand how parties
        platforms fit with their ideology (e.g., ANES 2008). This, in turn calls into question their
        ability to assess complex partisan agendas, especially on an ideological basis (e.g., Hershey
        2010, p. 293-296).
    •   Much of the public rarely has the time, information, or desire to play an active role in
        politics, or even to find out what their public officials are actually doing or voting for. Most
        primary elections see a participation rate of around 30% of the eligible electorate; that
        number can increase if there are competitive elections on the ballot or if effective
        mobilization efforts are mounted by candidates or parties, but it has rarely done so.
    •   Many Americans remain skeptical and even hostile to the idea of political parties as an
        institution (Ranney 1975). This seems even more true in today’s political environment, as
        evidenced by Figure C-3 below, which demonstrates the favorability ratings of the political
        parties in a national sample from a very recent survey by Pew Research (2010).

Figure C-3: Favorability of Political Parties in the US, April 18, 2010




                               •

(Source: http://pewresearch.org/pubs/1569/trust-in-government-distrust-discontent-anger-
partisan-rancor. Accessed April 24, 2010)

Responsible Party government is very rare in the United States. The closest thing we have seen in
the recent era of American national politics to the Responsible Party Model was the execution of
The Contract with America agenda in the mid-1990s—a list of popular, coherent, and relatively
moderate policy options that were voted on by the populace, and then elected representatives put
them in place, and did so out of commitment, not out of the threat of removal by the party the next
time around. However, the Contract movement was popular, broad, inclusive, and comparably
centrist in its policy goals and was run more by Newt Gingrich and the Republican Party in
Government than it was the Party Organization.
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We have also seen an increase in ideological consistency and party responsibility on both sides of
the partisan fence since the Reagan Era, which has led to an ideological realignment: conservatives
with the Republican Party and liberals with the Democratic Party—it was not always this way,
especially in the American South (Abramowitz and Saunders 1998). This, combined with increased
polarization at both the elite and electoral level (Fiorina et al 2004; Hetherington 2001, 2009;
Layman and Carsey 2002; Layman, Carsey, and Horowitz 2006; Abramowitz and Saunders 2008)
has led to a new era of increasingly polarized politics.

Competition and Polarization

The same party scholars who put together these ideas over 50 years ago also envisioned a
responsible party system where there were constantly democratic and competitive elections
involving vigorous and effective competition going on between the two major parties (APSA 1950,
p. 18). They were most definitely not advocating a return to the “party machines” of the pre-
Progressive era where one party controlled most, if not all, of the mechanisms of government. 2

Polarization is not necessarily a bad thing, it can mean clear options for the populace to choose
between, assuming they are informed and engaged enough to make their decisions on that basis.
Unfortunately, the evidence is quite strong that this is rarely the case.

However, polarization is not a good thing when there is no real competitive threat to balance it out.
As we saw in Exhibit B (p. 12-13), Idaho is the least electorally competitive state in the United
States according to the Ranney Party Control Index and has been for a while. As we saw above,
more extreme candidates are produced by closed primaries, as compared to open primaries, which
could lead to even more polarization and extremism.

Americans, in recent surveys, see this polarization, and almost half of Americans describe the
Democrats as “too liberal” and the Republicans as “too conservative” (e.g., Jones 2009). In an era of
growing party polarization of Parties in Government (e.g., Hetherington 2001, 2009; Hetherington
and Weiler 2009; Fiorina, Abrams, and Pope, 2006, ch. 10; McCarty, Poole, and Rosenthal 2006) and
in the electorate (Abramowitz and Saunders 2008), and especially in a one-party state like Idaho,
where the Republican primary is generally the decisive election, it makes more sense to have an
open primary to allow broader participation and not exacerbate the polarization any further.

The Republicans have done very well under Idaho’s open primary system, which has been in place
for decades. Republican candidates dominate the state, and they have done so to a varying degree
for many years, but have done especially well in the last decade and a half (see Exhibit B). How can
anyone demonstrate that the open primary system has damaged the Republican Party over the past
fifteen years? By perhaps being a moderating influence that has kept the most one-party
government in the United States from moving further to the right?


2 Many scholars have discussed both the positive and negative sides of the responsible party model (e.g., Turner 1951;

Pomper 1971; David 1992; see an entire list of articles, pro and con, engaging this topic at the American Political Science
Association’s Section on Political Organizations and Parties’ website at:
http://www.apsanet.org/~pop/APSA_Report.htm).
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Conditions of one-party rule, such as the renowned Chicago machine politics of the early 20th
Century, were the very circumstances—a lack of the usually moderating democratic influence on
the system—which led the citizenry to be amenable to the call for the institution of the Progressive
reforms, including the institution of the direct primary, after the 1930s.

There is also nothing wrong with strong parties. Absent a competitive environment, however, a
single strong party almost always proves inimical to democratic representation and government
accountability; history has many negative examples of one-party rule and the concomitant lack of
democratic influence on policy outcomes that resulted.

If the law required states to conduct only closed primaries, this has the potential to further worsen
the polarization we witness in America today and further reduce citizen involvement in the system,
in turn reducing legitimacy and citizen efficacy even further. More polarized Party Organizations
and Parties in Government would likely polarize the electorate even further than it already is.

At one point, one must wonder when the wishbone will break.

Open primaries represent a very sensible and appropriate way of choosing candidates that is very
much in keeping with the democratic American tradition. As we will see in the next sections, the
other concern with the open primary system, crossover voting, is also a minimal threat in most
elections, just as a little more democratic influence in candidate selection through the open primary
has obviously not been much of a detriment to the Idaho Republican Party.
